                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 1 of 38


 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       7                                         amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     M&C Fabrication, L.L.C.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      2      –      3      0        8    3         8   1     3

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       15835 Kimberlee Street                                          15360 Vantage Parkway West
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Houston                             TX       77049              Houston                       TX      77032
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Harris                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 2 of 38


Debtor M&C Fabrication, L.L.C.                                                            Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes

                                             3      3      2      9

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                               OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                               sheet, statement of operations, cash-flow statement, and federal income tax
                                                               return, or if any of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 3 of 38


Debtor M&C Fabrication, L.L.C.                                                            Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY

                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 4 of 38


Debtor M&C Fabrication, L.L.C.                                                    Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?
                                                                        Number      Street




                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency

                                                        Contact name

                                                        Phone


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                         25,001-50,000
    creditors                         50-99                             5,001-10,000                        50,001-100,000
                                      100-199                           10,001-25,000                       More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million              $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million             $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million            $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million           More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 5 of 38


Debtor M&C Fabrication, L.L.C.                                                           Case number (if known)

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 09/02/2021
                                                      MM / DD / YYYY



                                          X /s/ Haiqing Mei
                                              Signature of authorized representative of debtor
                                              Haiqing Mei
                                              Printed name
                                              President
                                              Title

18. Signature of attorney                X /s/ Wai Ping Cheung                                                    Date   09/02/2021
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Wai Ping Cheung
                                            Printed name
                                            Carmen Wai Ping Cheung, PLLC
                                            Firm name
                                            Carmen Wai Ping Cheung
                                            Number          Street
                                            5959 West Loop South

                                            Bellaire                                                   TX                 77401
                                            City                                                       State              ZIP Code


                                            (713) 266-8856                                             lawjustice@sbcglobal.net
                                            Contact phone                                              Email address
                                            24031942
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 6 of 38


 Fill in this information to identify the case
 Debtor name          M&C Fabrication, L.L.C.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Chase Business Checking account                               Checking account                    9   6   8     8                   $16,135.42
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
                                                                                                                                            $16,135.42
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
                      Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 7 of 38


Debtor         M&C Fabrication, L.L.C.                                                      Case number (if known)
               Name

                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

8.1.    commerical general liability insurance covering the period from 10/30/2020 to 10/30/2021 paid
        in October 2020 in the amount of $7649.00.

        The insured are M&C Fabrication, LLC and M&C Pump Americas, LLC

        The premiums were paid by M&C Pump Americas, LLC.                                                                                    Unknown
8.2.    personal property insurance covering the period from 5/30/2021 to 5/30/2022 paid in May 2021
        in the amount of $15,280.00.

        The insured are M&C Fabrication, LLC and M&C Pump Americas, LLC.

        The premiums were paid by M&C Pump Americas, LLC.                                                                                         $0.00
9.     Total of Part 2.
                                                                                                                                                  $0.00
       Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
11. Accounts receivable

11a. 90 days old or less:                $0.00               –                 $0.00                  = .......................                   $0.00
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                 $1,200.00             –                 $0.00                  = .......................              $1,200.00
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                             $1,200.00


 Part 4: Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.
                                                                                             Valuation method                     Current value of
                                                                                             used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

          Name of fund or stock:




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                                   page 2
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 8 of 38


Debtor       M&C Fabrication, L.L.C.                                                 Case number (if known)
             Name

15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
                                                                                                                                  $0.00
    Add lines 14 through 16. Copy the total to line 83.

 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.

     General description                         Date of the     Net book value of     Valuation method           Current value of
                                                 last physical   debtor's interest     used for current value     debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                  $0.00

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method           Current value of
                                                                 debtor's interest     used for current value     debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 9 of 38


Debtor       M&C Fabrication, L.L.C.                                                      Case number (if known)
             Name

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                    $0.00

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                  No
                  Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of      Valuation method         Current value of
                                                                    debtor's interest      used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

     4 desks $1000, 8 chairs $160, 1 conference
     table $221, 1 breakroom table $100                                           $0.00    garage sale value                   $1,481.00
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     3 HP computers $291,1 Brother all-in-one printer
     $100, 1 internet modem & router $20, 2 desk
     phones $40, 3 filing cabinets $150, 1 refrigerator
     $100, 1 microwave $20, 1 coffee machine $10,
     trash cans $20, 1 storage rack $10, stationery
     $10                                                                          $0.00    garage sale value                     $771.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                               $2,252.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                       page 4
                 Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 10 of 38


Debtor       M&C Fabrication, L.L.C.                                                     Case number (if known)
             Name


 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                          Net book value of       Valuation method         Current value of
     Include year, make, model, and identification numbers        debtor's interest       used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     1 air compressor $336, 1 power supply station
     $1600, 1 fire equipment $10, 3 welding machines
     $3390                                                                       $0.00    garage sale value                   $5,336.00
     main building camera system installed in 2018 by
     ADT, which includes;

     2 sets of outdoor bullet, 3Mp, H265+, 4mm,
     day/night, 120dB WDR, EXIR 2.0 (50m), IP67,
     PoE/12VDC

     1,500 of 24/ 4PR CAT5E CM WHITE 1M

     cost of installment and equipment was $6195.47


     1 universal replacement kit for 320P1 upgrade
     pak-board

     1 outdoor bullet, 3MP, H265+, 2.8MM, day/night,
     120dB WDR, EXIR 2.0 (50m), IP67, PoE/12VDC

     100 conduit EMT 1/inch per ft

     1 HDMI-HDMI cable 50' black

     1 kit Nvr 8Ch 2Tb 6 Tur 4Mp 2.8m                                            $0.00    garage sale value                        $1.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                      page 5
                  Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 11 of 38


Debtor       M&C Fabrication, L.L.C.                                                     Case number (if known)
             Name

      1 burglar alarm system installed in August 2018
      which includes:

      1 univeral replacement kit for 320P1 ukpgrade
      pak-board only
      2 pro 1 large fix-eng keypads (hardwire)
      1 system enhancement module-Verizon for vista
      10P-15P-20P(LTE)
      1 dual tone siren
      1 PET immune dual tec K-band motion sensor
      with form "C relay, range 35' x 40'
      3 PET immune dual tec K-band motion sensor
      with form "C relay, range 35' x 40'
      4 contact, surface mounts, white with logo
      3 overhead door contact SPST, adjustable
      magnet with L-bracket, 2 3/8" standard gap, 24"
      armored cable, UL
      1 wired 8 - zone expander

      cost of equipment and installment was $719.00                             $0.00     garage sale                                     $1.00
51. Total of Part 8.
                                                                                                                                     $5,338.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 15835 Kimberlee Street
       Houston, TX 77
       3.44 acres and 20088 sq ft, lot 4 of
       Kimbelee
       office/warehouse in industrial park in
       Kimbelee, Lot 4, Harris County,
       Texas

       sublease for 34 months and 16 days
       from 2/15/2020 through 12/31/2022
       from M&C Pump Americas, LLC                   leasehold interest              Unknown                                         Unknown
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
                 Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 12 of 38


Debtor       M&C Fabrication, L.L.C.                                                     Case number (if known)
             Name

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

     General description                                           Net book value of       Valuation method         Current value of
                                                                   debtor's interest       used for current value   debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

     security alarm license, non-transferrable                                  $0.00      garage sale value                        $0.00
63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
                                                                                                                                    $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest
71. Notes receivable

     Description (include name of obligor)




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                       page 7
                  Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 13 of 38


Debtor       M&C Fabrication, L.L.C.                                                   Case number (if known)
             Name

     loan to M&C Pump Americas, LLC
     15360 Vantage Parkway West, Houston, TX
     77032

     the loan is offset by the debt of $346,619.55
     owed to M&C Pump Americas, LLC for rent
     payments                                                          $24,365.81     –            $24,365.81     =         $0.00
                                                                  Total face amount   doubtful or uncollectible amount
     Debtor loaned $200,000.00 to Nagamori Trade,
     LLC, located at 15360 Vantage Parkway West,
     Houston, TX 77032, in 2020. No promissory
     note.                                                            $200,000.00     –           $200,000.00     =         $0.00
                                                                  Total face amount   doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

     insurance policy with Century Surety Company for covering personal property located at 15360
     Vantage Parkway West, Houston, TX 77032.
     The insurance period from 5/30/2021 through 5/30/2022                                                               Unknown
     commercial general liability insurance with Evanston Insurance company for M&C Fabrication,
     LLC and M&C Pump Americas, LLC at 15360 Vantage Parkway West, Houston, TX 77032                                     Unknown
74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     1 business sign                                                                                                        $1.00
78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                            $1.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                          page 8
                       Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 14 of 38


Debtor           M&C Fabrication, L.L.C.                                                                             Case number (if known)
                 Name

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                            $16,135.42
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                 $1,200.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                 $2,252.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                        $5,338.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................               $0.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $1.00

91. Total. Add lines 80 through 90 for each column.                        91a.              $24,926.42          +     91b.                  $0.00


                                                                                                                                                                      $24,926.42
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                           page 9
                   Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 15 of 38


 Fill in this information to identify the case:
 Debtor name          M&C Fabrication, L.L.C.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more             Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                 Amount of claim        Value of collateral
                                                                                                            Do not deduct the      that supports
                                                                                                            value of collateral.   this claim

 2.1      Creditor's name                                   Describe debtor's property that is
          M&C Pump Americas, LLC                            subject to a lien                                    $346,619.55                $7,589.00

          Creditor's mailing address                        sch B
          15360 Vantage Parkway West                        Describe the lien
                                                            Agreement
                                                            Is the creditor an insider or related party?
          Houston                    TX     77032                No
                                                                 Yes
          Creditor's email address, if known
                                                            Is anyone else liable on this claim?
          Date debt was incurred          5/2020 - 7/2021       No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                            As of the petition filing date, the claim is:
          Do multiple creditors have an interest in         Check all that apply.
          the same property?                                    Contingent
              No                                                Unliquidated
              Yes. Specify each creditor, including this        Disputed
              creditor, and its relative priority.

rent payments from May 2020 through July 2021

contractual lien on all property located in the subleased premises per Commercial Sublease signed on 2/20/2020.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                  $346,619.55


Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
                  Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 16 of 38


 Fill in this information to identify the case:
 Debtor name         M&C Fabrication, L.L.C.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                  Chapter       7                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       electricity contract                            Cirro Energy
          or lease is for and the       Contract to be REJECTED                         910 Louisiana Street
          nature of the debtor's
          interest                                                                      16th Floor

          State the term remaining
          List the contract
          number of any
                                                                                       Houston                             TX            77002
          government contract

2.2       State what the contract       commercial sublease of the                      M&C Pump Americas, LLC
          or lease is for and the       office/warehouse located at 15835               15360 Vantage Parkway West
          nature of the debtor's        Kimberlee Street, Houston, TX 77049
          interest                      Contract to be REJECTED
          State the term remaining      16 payment(s)
          List the contract
          number of any
                                                                                       Houston                             TX            77032
          government contract

2.3       State what the contract       legal representation as general                 Nguyen & Chen, LLP
          or lease is for and the       counsel and as counsel for the                  11200 Westheimer Road, #120
          nature of the debtor's        personal injury case under case
          interest                      2018-46450 in 80th District court of
                                        Harris county, Texas
                                        Contract to be REJECTED
          State the term remaining                                                     Houston                             TX            77042
          List the contract
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                  Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 17 of 38


 Fill in this information to identify the case:
 Debtor name         M&C Fabrication, L.L.C.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                        Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Enerflex Energy System          CT Corporation System                                  Pedro R. Martinez                     D
       Inc.                            Number      Street                                                                           E/F
                                       1999 Bryan Street, #900                                                                      G

                                       Dallas                         TX      75201
                                       City                           State   ZIP Code


2.2    M&C Pump Americas,              15360 Vantage Parkway West                             Kimberlee Partners, LP                D
       LLC                             Number      Street                                                                           E/F
                                                                                                                                    G

                                       Houston                        TX      77032
                                       City                           State   ZIP Code


2.3    MC Wielding &                   Keith McLendon                                         Pedro R. Martinez                     D
       Fabrication, Inc.               Number      Street                                                                           E/F
                                       8337 Up Rive Road                                                                            G

                                       Corpus Christi                 TX      78409
                                       City                           State   ZIP Code


2.4    Petrofab Management,            Charles Wist                                           Pedro R. Martinez                     D
       Inc.                            Number      Street                                                                           E/F
                                       Wist Holland & Kehlhof                                                                       G

                                       Houston                        TX      77080
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
                 Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 18 of 38


Debtor       M&C Fabrication, L.L.C.                                               Case number (if known)



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.5   Wield One Service             Jesus Salinas                                     Pedro R. Martinez                   D
                                    Number     Street                                                                     E/F
                                    6702 Providence View Lane                                                             G

                                    Houston                     TX      77049
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
                        Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 19 of 38


 Fill in this information to identify the case:


 Debtor Name M&C Fabrication, L.L.C.

 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF TEXAS


 Case number (if known):                                                                                                                                                                         Check if this is an
                                                                                                                                                                                                 amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                       12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                 $0.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                     $24,926.42
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                                       $24,926.42
         Copy line 92 from Schedule A/B........................................................................................................................................................................

 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...................................................... $346,619.55

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F............................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              +            $161,504.00
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................     $508,123.55




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 20 of 38


 Fill in this information to identify the case and this filing:
 Debtor Name         M&C Fabrication, L.L.C.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:


                    Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                    Schedule H: Codebtors (Official Form 206H)

                    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                    Amended Schedule

                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                    Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 09/02/2021                       X /s/ Haiqing Mei
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Haiqing Mei
                                                              Printed name
                                                              President
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 21 of 38


 Fill in this information to identify the case:
 Debtor name         M&C Fabrication, L.L.C.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                          Operating a business
                                 From    01/01/2021      to   Filing date
fiscal year to filing date:                                                        Other                                                    $0.00
                                        MM / DD / YYYY

                                                                                   Operating a business
For prior year:                  From    01/01/2020      to    12/31/2020
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                              $600,180.00

                                                                                   Operating a business
For the year before that:        From    01/01/2019      to    12/31/2019
                                        MM / DD / YYYY        MM / DD / YYYY       Other                                         $2,849,256.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 22 of 38


Debtor         M&C Fabrication, L.L.C.                                                         Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.1. Pedro R. Martinez vs MC                 personal injury, negligence,               80th Judicial District
                                                                                                                                              Pending
      Welding & Fabrication, Inc.,           respondeat superior, joint &               Name
      etal                                   several liability, vicarious               201 Caroline                                          On appeal
                                             liability, joint enterprise                Street
                                             relationsjip, superior non-                                                                      Concluded

      Case number                            employee liabillity, gross
                                             negligence, res ipsa loquitur
      2018-46450                                                                        Houston                   TX      77002
                                                                                        City                      State   ZIP Code

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 23 of 38


Debtor          M&C Fabrication, L.L.C.                                                   Case number (if known)
                Name


 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

          None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?           If not money, describe the property             Dates               Total amount
                                                              transferred                                                         or value
 11.1. Wai Ping Cheung                                                                                        8/8/2021                $8,450.00

         Address

         5959 West Loop South, #242
         Street


         Bellaire                    TX      77401
         City                        State   ZIP Code

         Email or website address
         lawjustice@sbcglobal.net

         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 24 of 38


Debtor        M&C Fabrication, L.L.C.                                                      Case number (if known)
              Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

         None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                   No.
                   Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                  No. Go to Part 10.
                  Yes. Fill in below:




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 25 of 38


Debtor       M&C Fabrication, L.L.C.                                                        Case number (if known)
             Name


  Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

         None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

         None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

         None

  Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


         None

Owner's name and address                        Location of the property                        Description of the property         Value

M&C Pump Americas, LLC                          15835 Kimberlee Street                          1 QA-6500 drill machine                 $20,797.00
Name                                                                                            $425,
15360 Vantage Parkway West                                                                      1 DB500 dustless blaster
Street                                          Houston                  TX     77049           $3700
                                                                                                1 paint booth $3550
                                                                                                1 Toyota fortlift 8FD8oU,
                                                                                                8FD8oU-11051 $8575 1
Houston                   TX      77032
City                      State   ZIP Code                                                      welding machine model
                                                                                                No:416 $4547




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 26 of 38


Debtor       M&C Fabrication, L.L.C.                                                        Case number (if known)
             Name


 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

         No
         Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

                Name and address                                                                     Dates of service

      26a.1. Sue Ann Ma                                                                              From     10/3/2017        To       now
                Name
                7001 Corporate, #100
                Street


                Houston                                        TX          77036
                City                                           State       ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 27 of 38


Debtor        M&C Fabrication, L.L.C.                                                       Case number (if known)
              Name

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

               Name and address                                                                     Dates of service

       26b.1. Sue Ann Ma                                                                            From     10/3/2017        To        now
               Name
               7001 Corporate, #100
               Street


               Houston                                        TX          77036
               City                                           State       ZIP Code

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

               Name and address                                                                  If any books of account and records are
                                                                                                 unavailable, explain why
         26c.1. Sue Ann Ma
               Name
               7001 Corporate, #100
               Street


               Houston                                        TX          77036
               City                                           State       ZIP Code

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

          No.
          Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest          % of interest, if any

Haiqing Mei                              15360 Vantage Parkway West                   President / owner                                    50%
                                         Houston, TX 77032
Xuanfeng Chen                            15360 Vintage Parkway West                   Vice President / owner                               50%
                                         Houston, TX 77032
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

          No
          Yes. Identify below.

Name                                     Address                                      Position and nature of        Period during which position
                                                                                      any interest                  or interest was held




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
                    Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 28 of 38


Debtor        M&C Fabrication, L.L.C.                                                     Case number (if known)
              Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 09/02/2021
            MM / DD / YYYY



X /s/ Haiqing Mei                                                                  Printed name Haiqing Mei
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
                   Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 29 of 38


 Fill in this information to identify the case:
 Debtor              M&C Fabrication, L.L.C.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                  Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 30 of 38


Debtor        M&C Fabrication, L.L.C.                                                  Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
Harris County                                                         Contingent
P.O. Box 4049                                                         Unliquidated
                                                                      Disputed

                                                                   Basis for the claim:
Houston                                  TX       77210            business personal property tax

Date or dates debt was incurred         2021                       Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
Kimberlee Partners, LP                                                Contingent
7720 Westview Dr.,                                                    Unliquidated
                                                                      Disputed

                                                                   Basis for the claim:
Houston                                  TX       77055            Unpaid rents

Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $161,504.00
                                                                   Check all that apply.
M&C Pump Americas, LLC                                                Contingent
15360 Vantage Parkway West                                            Unliquidated
                                                                      Disputed

                                                                   Basis for the claim:
Houston                                  TX       77032            unpaid Debt

Date or dates debt was incurred         2020                       Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    Unknown
                                                                   Check all that apply.
Pedro R. Martinez                                                     Contingent
Scott R. Brann                                                        Unliquidated
                                                                      Disputed
Brann Sullivan
602 Sawyer Street, #700                                            Basis for the claim:
Houston                                  TX       77007            personal injury claim / negligence

Date or dates debt was incurred         6/15/2018                  Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
                 Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 31 of 38


Debtor      M&C Fabrication, L.L.C.                                           Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +            $161,504.00


5c. Total of Parts 1 and 2                                                                5c.                $161,504.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 3
                         Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 32 of 38


B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                  HOUSTON DIVISION
In re M&C Fabrication, L.L.C.                                                                                                       Case No.

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

                                                                                                Fixed Fee:                       $8,000.00
     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                $8,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                                        $0.00
     Balance Due..............................................................................................................................................................

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 33 of 38


B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   A.Representation of the Debtors in an adversary proceeding, either as a plaintiff or a defendant.
   B.Representation of the Debtors in a contested matter
   C.Representation of the Debtors in any matter in which the Court orders fee shifting pursuant to which
   fees are to be paid by a person other than the Debtors.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                    09/02/2021                       /s/ Wai Ping Cheung
                       Date                          Wai Ping Cheung                            Bar No. 24031942
                                                     Carmen Wai Ping Cheung, PLLC
                                                     Carmen Wai Ping Cheung
                                                     5959 West Loop South
                                                     Suite #242
                                                     Bellaire, Texas 77401
                                                     Phone: (713) 266-8856 / Fax: (713) 266-5001




  /s/ Haiqing Mei
  Haiqing Mei
  President
                 Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 34 of 38


                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   M&C Fabrication, L.L.C.                                                    CASE NO

                                                                                      CHAPTER   7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/2/2021                                           Signature   /s/ Haiqing Mei
                                                                    Haiqing Mei
                                                                    President




Date                                                    Signature
Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 35 of 38



                  Cirro Energy
                  910 Louisiana Street
                  16th Floor
                  Houston, TX 77002


                  Enerflex Energy System Inc.
                  CT Corporation System
                  1999 Bryan Street, #900
                  Dallas, TX 75201


                  Harris County
                  P.O. Box 4049
                  Houston, TX 77210



                  Kimberlee Partners, LP
                  7720 Westview Dr.,
                  Houston, TX 77055



                  M&C Pump Americas, LLC
                  15360 Vantage Parkway West
                  Houston, TX 77032



                  MC Wielding & Fabrication, Inc.
                  Keith McLendon
                  8337 Up Rive Road
                  Corpus Christi, TX 78409


                  Nguyen & Chen, LLP
                  11200 Westheimer Road, #120
                  Houston, TX 77042



                  Pedro R. Martinez
                  Scott R. Brann
                  Brann Sullivan
                  602 Sawyer Street, #700
                  Houston, TX 77007

                  Petrofab Management, Inc.
                  Charles Wist
                  Wist Holland & Kehlhof
                  1515 Witte Road, #160
                  Houston, TX 77080
Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 36 of 38



                  Wield One Service
                  Jesus Salinas
                  6702 Providence View Lane
                  Houston, TX 77049
              Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 37 of 38


                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION
 In re: M&C Fabrication, L.L.C.                                          CASE NO

                                                                         CHAPTER   7


                                      BUSINESS INCOME AND EXPENSES



FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

   1. Gross Income for 12 Months Prior to Filing:                                      $0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

   2. Gross Monthly Income:
                                                                                                               $0.00
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
   3. Net Employee Payroll (Other Than Debtor):                                      $0.00
   4. Payroll Taxes:                                                                 $0.00
   5. Unemployment Taxes:                                                            $0.00
   6. Worker's Compensation:                                                         $0.00
   7. Other Taxes:                                                                   $0.00
   8. Inventory Purchases (including raw materials):                                 $0.00
   9. Purchase of Feed/Fertilizer/Seed/Spray:                                        $0.00
   10. Rent (other than debtor's principal residence):                               $0.00
   11. Utilities:                                                                  $565.00
   12. Office Expenses and Supplies:                                                 $0.00
   13. Repairs and Maintenance:                                                      $0.00
   14. Vehicle Expenses:                                                             $0.00
   15. Travel and Entertainment:                                                     $0.00
   16. Equipment Rental and Leases:                                                  $0.00
   17. Legal/Accounting/Other Professional Fees:                                     $0.00
   18. Insurance:                                                                    $0.00
   19. Employee Benefits (e.g., pension, medical, etc.):                             $0.00
   20. Payments to be Made Directly by Debtor to Secured Creditors for
        Pre-Petition Business Debts (Specify):                                         None
   21. Other (Specify):                                                                None
   22. Total Monthly Expenses (Add items 3 - 21)                                                             $565.00

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
   23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                           ($565.00)
                Case 21-32993 Document 1 Filed in TXSB on 09/07/21 Page 38 of 38


                                         UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF TEXAS
                                                 HOUSTON DIVISION
                                                                    §
IN RE:
                                                                    §
M&C Fabrication, L.L.C.                                             §             Case No.
                                                                    §
                          Debtor(s)                                 §             Chapter      7


                       DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                          PETITION, LISTS, STATEMENTS, AND SCHEDULES
PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or limited
liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in accordance with
the chapter of title 11, United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition, lists, statements, and schedules to be filed electronically in this case and I HEREBY
DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as the social security information
disclosed in this document, is true and correct. I understand that this Declaration is to be filed with the Bankruptcy Court within
five (5) business days after the petition, lists, statements, and schedules have been filed electronically. I understand that a
failure to file the signed original of this Declaration will result in the dismissal of my case.

      [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
      I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I am aware that
      I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief available under each
      chapter, and choose to proceed under chapter 7.


      [Only include if petitioner is a corporation, partnership or limited liability company] --
      I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists, statements, and
      schedules on behalf of the debtor in this case.




Date: 9/2/2021            /s/ Haiqing Mei
                          Haiqing Mei
                          President
                          Complete EIN: XX-XXXXXXX

PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part I herein
which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual with primarily
consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
the relief available under each such chapter.

Date: 9/2/2021                                                      /s/ Wai Ping Cheung
                                                                    Wai Ping Cheung, Attorney for Debtor
